Case 4:07-cr-00165-Y   Document 52       Filed 03/10/08   Page 1 of 1   PageID 190


            IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION

UNITED STATES OF AMERICA             §
                                     §
vs.                                  §       CRIMINAL NO. 4:07-CR-165-Y
                                     §
JOSE MANUEL TOVAR      (4)           §

                            ORDER ACCEPTING
                   REPORT AND RECOMMENDATION OF THE
                    UNITED STATES MAGISTRATE JUDGE
                    AND ADJUDGING DEFENDANT GUILTY

      After reviewing all relevant matters of record, including the

Consent to Administration of Guilty Plea and Federal Rule of

Criminal Procedure 11 Allocution by United States Magistrate Judge

and the Report and Recommendation on Plea Before the United States

Magistrate Judge, and no objections thereto having been filed

within ten (10) days of service in accordance with 28 U.S.C. §

636(b)(1), the undersigned district judge concludes that the report

and recommendation of the magistrate judge on the plea of guilty is

correct, and it is hereby accepted by the Court.               Accordingly, the

Court accepts the plea of guilty, and defendant is hereby adjudged

guilty.    The sentence will be imposed in accordance with the

Court’s sentencing scheduling order.

      SIGNED March 10, 2008.



                                             ____________________________
                                             TERRY R. MEANS
                                             UNITED STATES DISTRICT JUDGE
